Case: 5:10-cv-00327-KSF-REW Doc #: 1 Filed: 09/16/10 Page: 1 of 5 - Page ID#: 1



                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                      CIVIL NO:


KELSEY BREWER,                                                                             Plaintiff


vs.                                       COMPLAINT



NATIONWIDE CREDIT, INC.                                                                   Defendant

      Serve: NATIONWIDE CREDIT, INC.
             2015 Vaughn Street
             Building 400
             Kennesaw, Georgia 30144

                                        * * * * * * * *

        NOW COMES Plaintiff, KELSEY BREWER, by and through her attorneys, KROHN &

MOSS, LTD., and for her Complaint against Defendant, NATIONWIDE CREDIT, INC., alleges

and affirmatively states as follows:

                                       INTRODUCTION

       1.      Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act,

15 U.S.C. § 1692 et seq. (“FDCPA”).

                                           PARTIES

       2.      Plaintiff, KELSEY BREWER (“Plaintiff”) is an individual who was at all times

relevant hereto residing in the city of Georgetown, State of Kentucky, County of Scott.

       3.      Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1692a(3), and

according to Defendant, Plaintiff allegedly owes a debt as that term in defined by 15 U.S.C. §

1692a(5).




                                               -1-
Case: 5:10-cv-00327-KSF-REW Doc #: 1 Filed: 09/16/10 Page: 2 of 5 - Page ID#: 2



        4.      Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6), and sought to

collect a consumer debt from Plaintiff.

        5.      Defendant is a national corporation with its headquarters in Kennesaw, Georgia.

        6.      Defendant has acted though its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.

                                 JURISDICTION AND VENUE

        7.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court supplemental

jurisdiction over the state claims contained therein.

        8.      Defendant conducts business in the State of Kentucky, and therefore, personal

jurisdiction is established.

        9.      Venue is proper under 28 U.S.C. § 1391(b)(1).

                                      FACTUAL ALLEGATIONS

        10.     Defendant continuously and constantly placed collection calls to Plaintiff seeking

and demanding payment for an alleged debt for a DirecTV receiver.

        11.     Plaintiff denies owing the alleged debt.

        12.     Defendant has placed approximately three (3) collection calls to Plaintiff in a

single day.

        13.     Defendant placed collection calls to Plaintiff at Plaintiff’s telephone number 502-

863-3667 from telephone number 770-612-7241 and other toll-free numbers.

        14.     Defendant placed collection calls to Plaintiff from unknown numbers.




                                                 -2-
Case: 5:10-cv-00327-KSF-REW Doc #: 1 Filed: 09/16/10 Page: 3 of 5 - Page ID#: 3



        15.      Defendant placed collection calls to Plaintiff after 9:00 p.m. e.s.t., Plaintiff’s local

time.

        16.      Defendant told Plaintiff’s husband that non-payment of the alleged debt was a

federal offense.

        17.      Defendant continued to place collection calls to Plaintiff despite Plaintiff denying

having owned a DirecTV receiver or owing any money related to having a DirecTv receiver.

        18.      Defendant continued to place collection calls to Plaintiff despite Plaintiff

repeatedly telling Defendant that Defendant has the wrong ‘Kelsey Brewer.’

                                                   COUNT I

        DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

        19.      Defendant violated the FDCPA based on the following:

              a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural
                 consequence of which is to harass, oppress, or abuse any person;

              b. Defendant violated §1692d(5) of the FDCPA by causing the telephone to ring or
                 engaged any person in telephone conversations repeatedly;

              c. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without
                 disclosing his/her identity;

              d. Defendant violated §1692e of the FDCPA by false, deceptive, or misleading
                 representation or means in connection with the debt collection;

              e. Defendant violated §1692e(4) of the FDCPA by stating that nonpayment of any
                 debt will result in the arrest or imprisonment of any person or the seizure,
                 garnishment, attachment;

              f. Defendant violated     §1692f of the FDCPA by engaging in unfair or
                 unconscionable means to collect or attempt to collect the alleged debt; and

              g. Defendant violated §1692f(1) of the FDCPA by attempting to collect any amount
                 not authorized by the agreement creating the debt or permitted by law.




                                                   -3-
Case: 5:10-cv-00327-KSF-REW Doc #: 1 Filed: 09/16/10 Page: 4 of 5 - Page ID#: 4



                                    PRAYER FOR RELIEF

       20.     WHEREFORE, Plaintiff, KELSEY BREWER, respectfully requests judgment be

entered against Defendant, NATIONWIDE CREDIT, INC. for the following:

       21.     Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C.

§1692k;

       22.     Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. §1692k;

       23.     Any other relief that this Honorable Court deems appropriate.



                                   DEMAND FOR JURY TRIAL

       PLEASE TAKE NOTICE that Plaintiff, KELSEY BREWER, demands a jury trial in this

cause of action.



DATED: September 15, 2010                           Respectfully Submitted,
                                                    KELSEY BREWER



                                               By: /s/Lee Cassie Yates_________
                                                   Lee Cassie Yates – Atty No. 91821
                                                   Attorney for Plaintiff
                                                   KROHN & MOSS, LTD.
                                                   120 West Madison Street, 10th Floor
                                                   Chicago, Illinois 60602
                                                   (312) 578-9428




                                              -4-
Case: 5:10-cv-00327-KSF-REW Doc #: 1 Filed: 09/16/10 Page: 5 of 5 - Page ID#: 5



VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF _______________               )
                                       ) ss.
COUNTY OF _____________                )

Plaintiff, Kelsey Brewer, having first been duly sworn and upon oath, deposes and says as follows:

1. I am a Plaintiff in this civil proceeding.
2. I have read the above-entitled civil Complaint prepared by my attorneys and I believe that all of
   the facts contained in it are true, to the best of my knowledge, information and belief formed
   after reasonable inquiry.
3. I believe that this civil Complaint is well grounded in fact and warranted by existing law or by a
   good faith argument for the extension, modification, or reversal of existing law.
4. I believe that this civil Complaint is not interposed for any improper purpose, such as to harass
   any Defendant(s), cause unnecessary delay to any Defendant(s), or create a needless increase in
   the cost of litigation to any Defendant(s), named in the Complaint.
5. I have filed this civil Complaint in good faith and solely for the purposes set forth in it.
6. Each and every exhibit I have provided to my attorneys which has been attached to this
   Complaint is a true and correct copy of the original.
7. Except for clearly indicated redactions made by my attorneys where appropriate, I have not
   altered, changed, modified, or fabricated these exhibits, except that some of the attached exhibits
   may contain some of my own handwritten notations.


                                                       ____________________________________
                                                       Kelsey Brewer




                                                 -5-
